Case 2:02-cV-02691-.]DB-STA Document 42 Filed 08/16/05 Page 1 of 3 Page|D 84

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VERONICA M. AKINES, et al., CL:VJT§{`I/ij br :;}%,DOURT
"t'i].="ll L`."*" - sti§$
Plaintiffs,
v. No. 02-2483-B/An

SHELBY COUNTY GOVERNMENT
(Shelby County Correctional Center)

Defendant.

 

CHAKA C. WATSON and
LEKEISHA HUNT,

Plaintiffs, /
v. No. 02-2691-B/An

SHELBY COUNTY GOVERNMENT
(Shelby County Correctional Center)

Defendant.

 

ORDER OF REFERENCE

 

Before the court is Defendant’s Motion for Order Dismissing Plaintiff Cotina Glover’s
Complaint for Failing to Appear for her Deposition filed on August 4, 2005.

This matter is hereby referred to the United States Magistrate Judge for a report and
recommendation Any objections to the magistrate judge’s report and recommendation shall be
made within ten (10) days after service of the report, setting forth particularly those portions of
the report objected to and the reasons for the Objections. Failure to timely assign as error a

defect in the magistrate judge’s report will constitute a Waiver of that objection B Rule 72(a),

Federal Rules of Civil Procedure.

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Case 2:02-cV-02691-.]DB-STA Document 42 Filed 08/16/05 Page 2 of 3 Page|D 85

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IT rs so 0RDERE1) this ila day er August, 2005.

. DANIEL BREEN \
STATES DISTRICT JUDGE

 

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Notice of Distribution

This notice confirms a copy of the document docketed as number 42 in
case 2:02-CV-02691 Was distributed by faX, mail, or direct printing on
August 17, 2005 to the parties listed.

 

 

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Honorable J. Breen
US DISTRICT COURT

